                                     U.S. COURT OF APPEALS - EIGHTH CIRCUIT
                                          NOTICE OF APPEAL SUPPLEMENT
                  MISSOURI WESTERN DISTRICT – JEFFERSON CITY
Please note any additions or deletions to the style of the case from the style listed on the docket sheet (or attach an amended
docket sheet with the final style of the case).


 Case Caption: Schlacks et al v. Chheda et al
                                                                               Case No. 2:24-cv-04118-BCW

 Appellant: Neil Chheda, Schlacks 2020                                 Appellee: Jabbok Schlacks, William
 Transfer, LLC, RC Opportunity, LLC                                    Schlacks




         Case 2:24-cv-04118-BCW                       Document 77              Filed 03/14/25             Page 1 of 3
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       Case 2:24-cv-04118-BCW     Document 77    Filed 03/14/25      Page 2 of 3
 Court Reporter(s):                                         Please return files and documents to:
 N/A
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                                                            Clerk’s Office
                                                            80 Lafayette Street
                                                            Jefferson City, MO 65101

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 Length of Trial: N/A        Fee: Paid                   IFP: No                Pending IFP Motion: No

 Counsel:                    Pending Motions: Yes        Local Interest: No     Simultaneous Release: No



Criminal Cases / Prisoner Pro Se Cases Only: N/A

Special Comments:
Pending Motion doc. (72) Motion to amend/correct Scheduling Order.
Pending Motion doc. (76) Consent motion to stay re Notice of Appeal.




        Case 2:24-cv-04118-BCW                Document 77          Filed 03/14/25         Page 3 of 3
